Case 5:22-cv-00340-DSF-AGR   Document 37   Filed 01/25/23   Page 1 of 16 Page ID
                                   #:300



   1
   2
   3
   4
   5
   6
   7
   8                     UNITED STATES DISTRICT COURT
   9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 JEFF T. GRANGE, M.D.,                   Case No. 5:2-cv-00340 DSF (AGRx)
 12           Plaintiff,                    Magistrate Judge: Hon. Alicia G.
                                            Rosenberg
 13        vs.
 14 LORI POZUELOS, in her individual        [PROPOSED] STIPULATED
                                            PROTECTIVE ORDER
 15 and  official capacity; JASON
    WESSELY, in his individual and
 16 official capacity; CALIFORNIA
    DEPARTMENT OF INSURANCE; and
 17 DOES 1-10, individuals.,
                   Defendant.               Trial Date:     February 20, 2024
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                         [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR          Document 37      Filed 01/25/23     Page 2 of 16 Page ID
                                          #:301



   1 I.       PURPOSES AND LIMITATIONS

   2          A.     Discovery in this action is likely to involve production of confidential or
   3 private information for which special protection from public disclosure and from use for
   4
       any purpose other than prosecuting this litigation may be warranted. Accordingly,
   5
       Plaintiff Jeff T. Grange, M.D. and Defendants Lori Pozuelos and Jason Wessely
   6
       (collectively, “the parties”) hereby stipulate to and petition the Court to enter the
   7
   8 following Stipulated Protective Order. The parties acknowledge that this Order does not
   9 confer blanket protections on all disclosures or responses to discovery and that the
 10 protection it affords from public disclosure and use extends only to the limited
 11 information or items that are entitled to confidential treatment under the applicable legal
 12 principles. The parties further acknowledge, as set forth in Section XIII(C), below, that
 13
       this Stipulated Protective Order does not entitle them to file confidential information
 14
       under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the
 15
       standards that will be applied when a party seeks permission from the Court to file
 16
 17 material under seal.
 18 II.       GOOD CAUSE STATEMENT

 19           A.     This action is likely to involve sensitive witness information pertaining to
 20 the prior criminal matter in the San Bernardino County Superior Court, styled as People
 21
       of the State of California v. Jeff Grange, Case No. FSB20000771, and the qui tam matter,
 22
       Symons v. SIMNSA, filed in the San Bernardino County Superior Court, Case No.
 23
       CIVDS1607744, for which special protection from public disclosure and from use for any
 24
 25 purpose other than prosecution of this action is warranted. Such sensitive and
 26 confidential materials and information consist of, among other things, confidential
 27 witness statements, witness interview reports, personal identifying information of
 28 witnesses in a criminal proceeding, or other confidential witness information (including

                                                     1
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR           Document 37     Filed 01/25/23    Page 3 of 16 Page ID
                                           #:302



   1 information implicating privacy rights of third parties), information otherwise generally
   2 unavailable to the public, or which may be privileged or otherwise protected from
   3 disclosure under state or federal statutes, court rules, case decisions, or common law.
   4
       Accordingly, to expedite the flow of information, to facilitate the prompt resolution of
   5
       disputes over confidentiality of discovery materials, to adequately protect information the
   6
       parties are entitled to keep confidential, to ensure that the parties are permitted
   7
   8 reasonable necessary uses of such material in preparation for and in the conduct of trial,
   9 to address their handling at the end of the litigation, and serve the ends of justice, a
 10 protective order for such information is justified in this matter. It is the intent of the
 11 parties that information will not be designated as confidential for tactical reasons and
 12 that nothing be so designated without a good faith belief that it has been maintained in a
 13
       confidential, non-public manner, and there is good cause why it should not be part of the
 14
       public record of this case.
 15
       III.   DEFINITIONS
 16
 17           A.     Action: This pending federal law suit, Grange v. Pozuelos, et. al, Case No.

 18 5:22-cv-00340 DSF (AGRx).
 19           B.     Challenging Party: A Party or Non-Party that challenges the designation of
 20 information or items under this Order.
 21
              C.     “CONFIDENTIAL” Information or Items: Information (regardless of how it
 22
       is generated, stored or maintained) or tangible things that qualify for protection under
 23
       Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
 24
 25 Statement.
 26           D.     Counsel: Outside Counsel of Record (as well as their support staff).

 27           E.     Designating Party: A Party or Non-Party that designates information or
 28 items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

                                                     2
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR         Document 37       Filed 01/25/23     Page 4 of 16 Page ID
                                         #:303



   1          F.     Disclosure or Discovery Material: All items or information, regardless of

   2 the medium or manner in which it is generated, stored, or maintained (including, among
   3 other things, testimony, transcripts, and tangible things), that are produced or generated
   4
       in disclosures or responses to discovery in this matter.
   5
              G.     Expert: A person with specialized knowledge or experience in a matter
   6
       pertinent to the litigation who has been retained by a Party or its counsel to serve as an
   7
   8 expert witness or as a consultant in this Action.
   9          I.     Non-Party: Any natural person, partnership, corporation, association, or

 10 other legal entity not named as a Party to this action.
 11           J.     Outside Counsel of Record: Attorneys who are not employees of a party to
 12 this Action but are retained to represent or advise a party to this Action and have
 13
       appeared in this Action on behalf of that party or are affiliated with a law firm which has
 14
       appeared on behalf of that party, and includes support staff.
 15
              K.     Party: Any party to this Action, including all of its officers, directors,
 16
 17 employees, consultants, retained experts, and Outside Counsel of Record (and their
 18 support staffs).
 19           L.     Producing Party: A Party or Non-Party that produces Disclosure or
 20 Discovery Material in this Action.
 21
              M.     Professional Vendors: Persons or entities that provide litigation support
 22
       services (e.g., photocopying, videotaping, translating, preparing exhibits or
 23
       demonstrations, and organizing, storing, or retrieving data in any form or medium) and
 24
 25 their employees and subcontractors.
 26           N.     Protected Material: Any Disclosure or Discovery Material that is designated

 27 as “CONFIDENTIAL.”
 28 ///

                                                      3
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR         Document 37      Filed 01/25/23     Page 5 of 16 Page ID
                                         #:304



   1         O.     Receiving Party: A Party that receives Disclosure or Discovery Material

   2 from a Producing Party.
   3 IV.     SCOPE
   4
             A.     The protections conferred by this Stipulation and Order cover not only
   5
       Protected Material (as defined above), but also (1) any information copied or extracted
   6
       from Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
   7
   8 Material; and (3) any testimony, conversations, or presentations by Parties or their
   9 Counsel that might reveal Protected Material.
 10          B.     Any use of Protected Material at trial shall be governed by the orders of the
 11 trial judge. This Order does not govern the use of Protected Material at trial.
 12 V.      DURATION
 13
             A.     Even after final disposition of this litigation, the confidentiality obligations
 14
       imposed by this Order shall remain in effect until a Designating Party agrees otherwise in
 15
       writing or a court order otherwise directs. Final disposition shall be deemed to be the
 16
 17 later of (1) dismissal of all claims and defenses in this Action, with or without prejudice;
 18 and (2) final judgment herein after the completion and exhaustion of all appeals,
 19 rehearings, remands, trials, or reviews of this Action, including the time limits for filing
 20 any motions or applications for extension of time pursuant to applicable law.
 21
       VI.   DESIGNATING PROTECTED MATERIAL
 22
             A.     Exercise of Restraint and Care in Designating Material for Protection
 23
                    1.     Each Party or Non-Party that designates information or items for
 24
 25 protection under this Order must take care to limit any such designation to specific
 26 material that qualifies under the appropriate standards. The Designating Party must
 27 designate for protection only those parts of material, documents, items, or oral or written
 28 communications that qualify so that other portions of the material, documents, items, or

                                                    4
                               [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR         Document 37     Filed 01/25/23    Page 6 of 16 Page ID
                                         #:305



   1 communications for which protection is not warranted are not swept unjustifiably within
   2 the ambit of this Order.
   3                2.     Mass, indiscriminate, or routinized designations are prohibited.
   4
       Designations that are shown to be clearly unjustified or that have been made for an
   5
       improper purpose (e.g., to unnecessarily encumber the case development process or to
   6
       impose unnecessary expenses and burdens on other parties) may expose the Designating
   7
   8 Party to sanctions.
   9                3.     If it comes to a Designating Party’s attention that information or

 10 items that it designated for protection do not qualify for protection, that Designating
 11 Party must promptly notify all other Parties that it is withdrawing the inapplicable
 12 designation.
 13
             B.     Manner and Timing of Designations
 14
                    1.     Except as otherwise provided in this Order (see, e.g., Section B(2)(b)
 15
       below), or as otherwise stipulated or ordered, Disclosure or Discovery Material that
 16
 17 qualifies for protection under this Order must be clearly so designated before the material
 18 is disclosed or produced.
 19                 2.     Designation in conformity with this Order requires the following:
 20                        a.     For information in documentary form (e.g., paper or
 21
             electronic documents, but excluding transcripts of depositions or other pretrial or
 22
             trial proceedings), that the Producing Party affix at a minimum, the legend
 23
             “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 24
 25          contains protected material. If only a portion or portions of the material on a page

 26          qualifies for protection, the Producing Party also must clearly identify the

 27          protected portion(s) (e.g., by making appropriate markings in the margins).
 28 ///

                                                   5
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR        Document 37      Filed 01/25/23    Page 7 of 16 Page ID
                                        #:306



   1                      b.     A Party or Non-Party that makes original documents available

   2        for inspection need not designate them for protection until after the inspecting
   3        Party has indicated which documents it would like copied and produced. During
   4
            the inspection and before the designation, all of the material made available for
   5
            inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
   6
            identified the documents it wants copied and produced, the Producing Party must
   7
            determine which documents, or portions thereof, qualify for protection under this
   8
   9        Order. Then, before producing the specified documents, the Producing Party must

 10         affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
 11         If only a portion or portions of the material on a page qualifies for protection, the
 12         Producing Party also must clearly identify the protected portion(s) (e.g., by making
 13
            appropriate markings in the margins).
 14
                          c.     For testimony given in depositions, that the Designating Party
 15
            identify the Disclosure or Discovery Material on the record, before the close of the
 16
 17         deposition all protected testimony.

 18                       d.     For information produced in form other than document and

 19         for any other tangible items, that the Producing Party affix in a prominent place on
 20         the exterior of the container or containers in which the information is stored the
 21
            legend “CONFIDENTIAL.” If only a portion or portions of the information
 22
            warrants protection, the Producing Party, to the extent practicable, shall identify
 23
            the protected portion(s).
 24
 25         C.     Inadvertent Failure to Designate

 26                1.     If timely corrected, an inadvertent failure to designate qualified

 27 information or items does not, standing alone, waive the Designating Party’s right to
 28 secure protection under this Order for such material. Upon timely correction of a

                                                   6
                               [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR         Document 37       Filed 01/25/23    Page 8 of 16 Page ID
                                         #:307



   1 designation, the Receiving Party must make reasonable efforts to assure that the material
   2 is treated in accordance with the provisions of this Order.
   3 VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
   4
              A.     Timing of Challenges
   5
                     1.     Any party or Non-Party may challenge a designation of
   6
       confidentiality at any time that is consistent with the Court’s Scheduling Order.
   7
              B.     Meet and Confer
   8
   9                 1.     The Challenging Party shall initiate the dispute resolution process

 10 under Local Rule 37.1 et seq.
 11           C.     The burden of persuasion in any such challenge proceeding shall be on the
 12 Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
 13
       to harass or impose unnecessary expenses and burdens on other parties) may expose the
 14
       Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
 15
       the confidentiality designation, all parties shall continue to afford the material in question
 16
 17 the level of protection to which it is entitled under the Producing Party’s designation until
 18 the Court rules on the challenge.
 19 VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
 20           A.     Basic Principles
 21
                     1.     A Receiving Party may use Protected Material that is disclosed or
 22
       produced by another Party or by a Non-Party in connection with this Action only for
 23
       prosecuting, defending, or attempting to settle this Action. Such Protected Material may
 24
 25 be disclosed only to the categories of persons and under the conditions described in this
 26 Order. When the Action has been terminated, a Receiving Party must comply with the
 27 provisions of Section XIV below.
 28 ///

                                                     7
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR          Document 37      Filed 01/25/23    Page 9 of 16 Page ID
                                          #:308



   1                2.      Protected Material must be stored and maintained by a Receiving

   2 Party at a location and in a secure manner that ensures that access is limited to the
   3 persons authorized under this Order.
   4
             B.     Disclosure of “CONFIDENTIAL” Information or Items
   5
                    1.      Unless otherwise ordered by the Court or permitted in writing by the
   6
       Designating Party, a Receiving Party may disclose any information or item designated
   7
   8 “CONFIDENTIAL” only to:
   9                        a.      The Receiving Party’s Outside Counsel of Record in this

 10          Action, as well as employees of said Outside Counsel of Record to whom it is
 11          reasonably necessary to disclose the information for this Action;
 12                         b.      The officers, directors, counsel and employees of the
 13
             Receiving Party or the Producing Party, or the agency which employed said Party,
 14
             to whom disclosure is reasonably necessary for this Action;
 15
                            c.      Experts (as defined in this Order) of the Receiving Party to
 16
 17          whom disclosure is reasonably necessary for this Action and who have signed the

 18          “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 19                         d.      The Court and its personnel;
 20                         e.      Court reporters and their staff;
 21
                            f.      Professional jury or trial consultants, mock jurors, and
 22
             Professional Vendors to whom disclosure is reasonably necessary for this Action
 23
             and who have signed the “Acknowledgment and Agreement to be Bound” attached
 24
 25          as Exhibit A hereto;

 26                         g.      The author or recipient of a document containing the

 27          information or a custodian or other person who otherwise possessed or knew the
 28          information;

                                                     8
                                 [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR         Document 37 Filed 01/25/23        Page 10 of 16 Page ID
                                         #:309



   1                        h.     During their depositions, witnesses, and attorneys for

   2         witnesses, in the Action to whom disclosure is reasonably necessary provided: (i)
   3         the deposing party requests that the witness sign the “Acknowledgment and
   4
             Agreement to Be Bound;” and (ii) they will not be permitted to keep any
   5
             confidential information unless they sign the “Acknowledgment and Agreement to
   6
             Be Bound,” unless otherwise agreed by the Designating Party or ordered by the
   7
             Court. Pages of transcribed deposition testimony or exhibits to depositions that
   8
   9         reveal Protected Material may be separately bound by the court reporter and may

  10         not be disclosed to anyone except as permitted under this Stipulated Protective
  11         Order; and
  12                        i.     Any mediator or settlement officer, and their supporting
  13
             personnel, mutually agreed upon by any of the parties engaged in settlement
  14
             discussions.
  15
       IX.   PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  16
  17         IN OTHER LITIGATION

  18         A.     If a Party is served with a subpoena or a court order issued in other

  19 litigation that compels disclosure of any information or items designated in this Action as
  20 “CONFIDENTIAL,” that Party must:
  21
                    1.      Promptly notify in writing the Designating Party. Such notification
  22
       shall include a copy of the subpoena or court order;
  23
                    2.      Promptly notify in writing the party who caused the subpoena or
  24
  25 order to issue in the other litigation that some or all of the material covered by the
  26 subpoena or order is subject to this Protective Order. Such notification shall include a
  27 copy of this Stipulated Protective Order; and
  28 ///

                                                    9
                                 [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR           Document 37 Filed 01/25/23        Page 11 of 16 Page ID
                                           #:310



   1                 3.        Cooperate with respect to all reasonable procedures sought to be

   2 pursued by the Designating Party whose Protected Material may be affected.
   3          B.     If the Designating Party timely seeks a protective order, the Party served
   4
       with the subpoena or court order shall not produce any information designated in this
   5
       action as “CONFIDENTIAL” before a determination by the Court from which the
   6
       subpoena or order issued, unless the Party has obtained the Designating Party’s
   7
   8 permission. The Designating Party shall bear the burden and expense of seeking
   9 protection in that court of its confidential material and nothing in these provisions should
  10 be construed as authorizing or encouraging a Receiving Party in this Action to disobey a
  11 lawful directive from another court.
  12 X.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  13
              PRODUCED IN THIS LITIGATION
  14
              A.     The terms of this Order are applicable to information produced by a Non-
  15
       Party in this Action and designated as “CONFIDENTIAL.” Such information produced by
  16
  17 Non-Parties in connection with this litigation is protected by the remedies and relief
  18 provided by this Order. Nothing in these provisions should be construed as prohibiting a
  19 Non-Party from seeking additional protections.
  20          B.     In the event that a Party is required, by a valid discovery request, to produce
  21
       a Non-Party’s confidential information in its possession, and the Party is subject to an
  22
       agreement with the Non-Party not to produce the Non-Party’s confidential information,
  23
       then the Party shall:
  24
  25                 1.        Promptly notify in writing the Requesting Party and the Non-Party

  26 that some or all of the information requested is subject to a confidentiality agreement
  27 with a Non-Party;
  28 ///

                                                     10
                                  [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR          Document 37 Filed 01/25/23        Page 12 of 16 Page ID
                                          #:311



   1                 2.       Promptly provide the Non-Party with a copy of the Stipulated

   2 Protective Order in this Action, the relevant discovery request(s), and a reasonably
   3 specific description of the information requested; and
   4
                     3.       Make the information requested available for inspection by the Non-
   5
       Party, if requested.
   6
              C.     If the Non-Party fails to seek a protective order from this court within 14
   7
   8 days of receiving the notice and accompanying information, the Receiving Party may
   9 produce the Non-Party’s confidential information responsive to the discovery request. If
  10 the Non-Party timely seeks a protective order, the Receiving Party shall not produce any
  11 information in its possession or control that is subject to the confidentiality agreement
  12 with the Non-Party before a determination by the court. Absent a court order to the
  13
       contrary, the Non-Party shall bear the burden and expense of seeking protection in this
  14
       court of its Protected Material.
  15
       XI.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  16
  17          A.     If a Receiving Party learns that, by inadvertence or otherwise, it has

  18 disclosed Protected Material to any person or in any circumstance not authorized under
  19 this Stipulated Protective Order, the Receiving Party must immediately (1) notify in
  20 writing the Designating Party of the unauthorized disclosures, (2) use its best efforts to
  21
       retrieve all unauthorized copies of the Protected Material, (3) inform the person or
  22
       persons to whom unauthorized disclosures were made of all the terms of this Order, and
  23
       (4) request such person or persons to execute the “Acknowledgment and Agreement to be
  24
  25 Bound” that is attached hereto as Exhibit A.
  26 ///
  27 ///
  28 ///

                                                    11
                                 [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR         Document 37 Filed 01/25/23         Page 13 of 16 Page ID
                                         #:312



   1 XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   2          PROTECTED MATERIAL
   3          A.     When a Producing Party gives notice to Receiving Parties that certain
   4
       inadvertently produced material is subject to a claim of privilege or other protection, the
   5
       obligations of the Receiving Parties are those set forth in Federal Rule of Civil Procedure
   6
       26(b)(5)(B). This provision is not intended to modify whatever procedure may be
   7
   8 established in an e-discovery order that provides for production without prior privilege
   9 review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the parties reach
  10 an agreement on the effect of disclosure of a communication or information covered by
  11 the attorney-client privilege or work product protection, the parties may incorporate their
  12 agreement in the Stipulated Protective Order submitted to the Court.
  13
       XIII. MISCELLANEOUS
  14
              A.     Right to Further Relief
  15
                     1.     Nothing in this Order abridges the right of any person to seek its
  16
  17 modification by the Court in the future.
  18          B.     Right to Assert Other Objections

  19                 1.     By stipulating to the entry of this Protective Order, no Party waives
  20 any right it otherwise would have to object to disclosing or producing any information or
  21
       item on any ground not addressed in this Stipulated Protective Order. Similarly, no Party
  22
       waives any right to object on any ground to use in evidence of any of the material covered
  23
       by this Protective Order.
  24
  25          C.     Filing Protected Material

  26                 1.     A Party that seeks to file under seal any Protected Material must

  27 comply with Civil Local Rule 79-5. Protected Material may only be filed under seal
  28 pursuant to a court order authorizing the sealing of the specific Protected Material at

                                                    12
                               [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR         Document 37 Filed 01/25/23          Page 14 of 16 Page ID
                                         #:313



   1 issue. If a Party's request to file Protected Material under seal is denied by the Court,
   2 then the Receiving Party may file the information in the public record unless otherwise
   3 instructed by the Court.
   4
       XIV. FINAL DISPOSITION
   5
              A.     After the final disposition of this Action, as defined in Section V, within
   6
       sixty (60) days of a written request by the Designating Party, each Receiving Party must
   7
   8 return all Protected Material to the Producing Party or destroy such material. As used in
   9 this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  10 summaries, and any other format reproducing or capturing any of the Protected Material.
  11 Whether the Protected Material is returned or destroyed, the Receiving Party must
  12 submit a written certification to the Producing Party (and, if not the same person or
  13
       entity, to the Designating Party) by the 60 day deadline that (1) identifies (by category,
  14
       where appropriate) all the Protected Material that was returned or destroyed and (2)
  15
       affirms that the Receiving Party has not retained any copies, abstracts, compilations,
  16
  17 summaries or any other format reproducing or capturing any of the Protected Material.
  18 Notwithstanding this provision, Counsel are entitled to retain an archival copy of all
  19 pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
  20 correspondence, deposition and trial exhibits, expert reports, attorney work product, and
  21
       consultant and expert work product, even if such materials contain Protected Material.
  22
       Any such archival copies that contain or constitute Protected Material remain subject to
  23
       this Protective Order as set forth in Section V.
  24
  25 ///
  26 ///
  27 ///
  28 ///

                                                    13
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 5:22-cv-00340-DSF-AGR   Document 37 Filed 01/25/23   Page 15 of 16 Page ID
                                   #:314
Case 5:22-cv-00340-DSF-AGR          Document 37 Filed 01/25/23         Page 16 of 16 Page ID
                                          #:315



   1                               EXHIBIT A
                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   2
   3           I,                                  [print or type full name], of
   4
                      [print or type full address], declare under penalty of perjury that I have
   5
       read in its entirety and understand the Stipulated Protective Order that was issue by the
   6
       United States District Court for the Central District of California on [DATE] in the case of
   7
   8 Grange v. Pozuelos, et. al, No. 5:22-cv-00340 DSF (AGRx). I agree to comply with and to
   9 be bound by all the terms of this Stipulated Protective Order and I understand and
  10 acknowledge that failure to so comply could expose me to sanctions and punishment in
  11 the nature of contempt. I solemnly promise that I will not disclose in any manner any
  12 information or item that is subject to this Stipulated Protective Order to any person or
  13
       entity except in strict compliance with the provisions of this Order.
  14
               I further agree to submit to the jurisdiction of the United States District Court for
  15
       the Central District of California for the purpose of enforcing the terms of this Stipulated
  16
  17 Protective Order, even if such enforcement proceedings occur after termination of this
  18 action. I hereby appoint                                    [print or type full name] of

  19                                [print or type full address and telephone number] as my
  20 California agent for service of process in connection with this action or any proceedings
  21
       related to enforcement of this Stipulated Protective Order.
  22
       Date:
  23
       City and State where sworn and signed:
  24
  25 Printed Name:
  26 Signature:
  27
  28

                                                      1
                                 [PROPOSED] STIPULATED PROTECTIVE ORDER
